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Sheehan & Associates, P.C.
Spencer Sheehan
spencer@spencersheehan.com
(516) 303-0552

United States District Court
Eastern District of New York                                      1:19-cv-01209

Renzil Simon individually and on behalf of
all others similarly situated
                                  Plaintiff

                   - against -                                     Complaint

Campbell Soup Company
                                  Defendant


       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.    Campbell Soup Company (“defendant”) manufactures, bottles, packages, markets,

distributes and sells fruit and vegetable beverage blends with green tea extracts in the V8 +Energy

product line (“Products”).

       2.    The Products are sold in regular, sparkling and diet, in cans including 8 and 12 oz,

nationwide to consumers from retail stores and websites, and from defendant directly.

       3.    The product line includes no fewer than fourteen (14) varieties.

            Regular                           Sparkling                         Diet

    Peach Mango                  Sparkling Orange Pineapple         Diet Strawberry Lemonade
    Pomegranate Blueberry Sparkling White Grape Raspberry Diet Cranberry Raspberry
    Orange Pineapple             Sparkling Blackberry Cranberry
    Black Cherry                 Sparkling Kiwi Melon
    100% Vegetable Juice
    Strawberry Banana
                                                   1
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    Tropical Green
    Raspberry Vanilla



            Regular                         Sparkling                           Diet




       4.    “Energy drinks” are sought by consumers to feel more energetic, alert, focused,

creative, and productive.

       5.    These products have come under scrutiny for their harmful effects in part due to their

high potential for abuse and excessive caffeine content.

       6.    The active ingredient for the “energy” is caffeine, a central nervous system stimulant.

       7.    Caffeine induces mental and physical changes associated with “energy”: increase

alertness, wakefulness, motivation, and motor activity; enhance physiological arousal, by

activating sympathetic nervous system by increasing heart rate and blood pressure and the

hypothalamic pituitary adrenal axis by increasing cortisol.

       8.    It takes about 45 minutes for 99% of caffeine to be absorbed in the body, and the
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discharge rate is steep – 50% percent within two hours.

          9.     This fast metabolism of caffeine leads to drowsiness and fatigue, due to elevated

levels of adenosine, causing dopamine to be repressed – referred to as a “crash.”


I. Representations


          10.    The Products provide 80 mg of caffeine (per 12 oz) and emphasize its source on the

front label and compare the caffeine levels to similar foods on the side label.




          11.    The representations are that the caffeine in the Products will not produce the typical

“crash” associated with caffeine because its source is green tea, indicated in the ingredient list.1




1
    Peach Mango flavor.
                                                    3
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       12.   The “steady energy” claims are repeated and promoted in the marketing campaign.




       13.    It is false, deceptive and misleading to claim and/or imply the caffeine in the

Products from green tea will last longer, be metabolized or absorbed at a different rate

(“stead[il]y”) and will not cause a typical caffeine crash from caffeine not derived from green tea.

       14.   This claim is based upon faulty science, implausible studies and consumers’

erroneous impressions, which the labels take advantage of.

       15.   Tea is associated with calming and soothing effects in part because it’s consumed


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slowly (hot), by the cup, and has less caffeine per ounce than caffeinated beverages like coffee.

         16.    When tea is converted into a powdered extract, the caffeine content becomes higher

since there is no water.

         17.    The belief in green tea’s ability to provide “steady energy” is likely erroneously

based on the presence of L-theanine, an amino acid found almost exclusively in tea.

         18.    Although caffeine is known to increase blood pressure, a high dose of L-theanine has

been shown to inhibit these stimulating effects, wrongly characterized as “modulating” or

“drawing out” the body’s absorption and use of caffeine.2

         19.    However, theanine and caffeine have different receptor affinities, causing an additive

instead of a synergistic effect.3

         20.    All reasonable scientists agree that metabolism of caffeine is not inhibited by other

food substances and has an independent absorption rate.

         21.    Any studies purporting to support the Products’ claims of “steady energy” are poorly

designed, incredible and represent the view of a minority of scientists.

         22.    It is affirmatively false and misleading to claim caffeine from green tea provides

“steady energy” when if anything, it provides less energy, due to the interaction with L-theanine

and that to the extent its effect can be distinguished from caffeine, it impairs attention and energy.4


II. Misleading Statement of Identity - Failing to Accurately Describe Juice Type and/or

      Modifications


2
  Suzanne JL Einöther, et al. "L-theanine and caffeine improve task switching but not intersensory attention or
subjective alertness." Appetite 54.2 (2010): 406-409.
3
  Chanaka N. Kahathuduwa, et al. "Acute effects of theanine, caffeine and theanine–caffeine combination on
attention." Nutritional Neuroscience 20.6 (2017): 369-377.
4
  David A. Camfield, et al. "Acute effects of tea constituents L-theanine, caffeine, and epigallocatechin gallate on
cognitive function and mood: a systematic review and meta-analysis." Nutrition Reviews 72.8 (2014): 507-522
(reviewing L-theanine’s association with the inverse effects of caffeine, such as lowering blood pressure, lowering
anxiety, and increasing relaxation).
                                                         5
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       23.   The Products all have statements of identity which purport to comply with the

relevant regulations for naming beverages that contain fruit and vegetable juice. 21 CFR 102.33.

       24.   For instance, the Sparkling Orange Pineapple is identified as “An orange and

pineapple flavored beverage with a 34% juice blend of 5 vegetable and fruit juices from

concentrate with green tea and other natural flavors.”

       25.   All of the Products, except for two, list concentrated sweet potato juice as the first

ingredient – more of this component than any other component.

                 Flavor                                    First Ingredient
  Peach Mango                          Concentrated Juices Of Sweet Potatoes
  Pomegranate Blueberry                Concentrated Juices Of Sweet Potatoes
  Orange Pineapple                     Concentrated Juices Of Sweet Potatoes
  Black Cherry                         Concentrated Juices Of Sweet Potatoes
  100% Vegetable Juice                 Concentrated Juices Of Tomatoes
  Strawberry Banana                    Concentrated Juices Of Sweet Potatoes
  Tropical Green                       Concentrated Juices Of Yellow Carrots, Sweet Potatoes
  Raspberry Vanilla                    Concentrated Juices Of Sweet Potatoes
  Sparkling Orange Pineapple           Concentrated Juices Of Sweet Potatoes
  Sparkling White Grape Raspberry Concentrated Juices Of Sweet Potatoes
  Sparkling Blackberry Cranberry       Concentrated Juices Of Sweet Potatoes
  Sparkling Kiwi Melon                 Concentrated Juices Of Sweet Potatoes
  Diet Strawberry Lemonade             Concentrated Juices Of Sweet Potatoes
  Diet Cranberry Raspberry             Concentrated Juices Of Sweet Potatoes

       26.   While juice refers to an aqueous liquid extracted or expressed from a fruit or

vegetable, the more appropriate name for the concentrate sweet potato juice would include a

descriptor such as “clarified” or “deionized” and the word syrup.

       27.   Sweet potato juice is considered an alternative to high fructose corn syrup and sugar,

but more palatable – literally and figuratively – to consumers who avoid these ingredients.
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         28.   One company that sells sweet potato juice describes it as ideal for applications

targeting “your health-focused consumer, adding vegetable servings and a health halo.”

         29.   It is probable that the sweet potato juice may be deflavored because the identity

statement states the juices are “flavored” by the named juices – i.e., “orange pineapple.”

         30.   Only if the base juices (incl. sweet potatoes) were stripped of flavor would the named

juices be able to “characterize” the overall juice – otherwise there would not be enough of the

named juices to sufficiently impart their flavoring attributes to the overall blend.

         31.   As a result, the Products have misleading names because they fail to identify the

nature of the modification to the sweet potato juice beyond the descriptor, “concentrate.”5

         32.   The Products also contain a false or misleading “No Added Sugars” claim.




         33.   The Products contain other representations which are misleading and deceptive.


5
 21 CFR 102.33(e) (“The common or usual name of a juice that has been modified shall include a description of the
exact nature of the modification (e.g., ‘acid-reduced cranberry juice,’ ‘deflavored, decolored grape juice’”)).
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        34.     Excluding tax, the Products cost no less than $2.99 per 12 oz, a premium price

compared to other similar products.

                                        Jurisdiction and Venue


        35.     Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2).

        36.     Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

        37.     This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to supply and supplies goods within New York.

        38.     Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and in New York.

        39.     A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                   Parties

        40.     Plaintiff is a citizen of Kings County, New York.

        41.     John and Jane Doe plaintiffs are citizens of the other 49 states.

        42.     Defendant is a New Jersey corporation with a principal place of business in Camden,

New Jersey (Camden County).

        43.     During the years 2017, 2018 or 2019, plaintiffs purchased one or more Products for

personal consumption, for no less than $2.99 per 12 oz product, excluding tax, within this district

and/or State.

        44.     Plaintiff paid this premium because prior to purchase, plaintiff saw and relied on the

misleading representations.

        45.     Plaintiff would purchase the Products again if there were assurances that the

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Products’ representations were no longer misleading.

                                         Class Allegations


       46.    The classes consist of all consumers in the following states: all, New York who

purchased any Products with actionable representations during the statutes of limitation.

       47.    A class action is superior to other methods for fair and efficient adjudication.

       48.    The class is so numerous that joinder of all members, even if permitted, is

impracticable, as there are likely hundreds of thousands of members.

       49.    Common questions of law or fact predominate and include whether the

representations were likely to deceive reasonable consumers and if plaintiff(s) and class members

are entitled to damages.

       50.    Plaintiff(s) claims and the basis for relief are typical to other members because all

were subjected to the same representations.

       51.    Plaintiff(s) is/are an adequate representative because his/her/their interests do not

conflict with other members.

       52.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       53.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest.

       54.    Plaintiff(s) counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       55.    Plaintiff(s) seeks class-wide injunctive relief because the practices continue.

                         New York General Business Law (“GBL”) §§ 349 & 350
                      and Consumer Protection Statutes of Other States and Territories


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       56.     Plaintiff and John Doe plaintiffs representing other states, incorporates by reference

all preceding paragraphs and asserts causes of action under the consumer protection statutes of all

fifty (50) states, where John and Jane Doe Plaintiffs reside and have purchased the Products.

   a. Alabama Deceptive Trade Practices Act, Ala. Code § 8-19-1, et. seq.;

   b. Alaska Unfair Trade Practices and Consumer Protection Act, Ak. Code § 45.50.471, et.

       seq.;

   c. Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et. seq.;

   d. California Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750 et seq. and Unfair

       Competition Law, Cal. Bus. Prof. Code §§ 17200- 17210 et. seq.;

   e. Colorado Consumer Protection Act, Colo Rev. Stat § 6-1-101, et. seq.;

   f. Connecticut Unfair Trade Practices Act, Conn. Gen Stat § 42-110a, et. seq.;

   g. Delaware Deceptive Trade Practices Act, 6 Del. Code § 2511, et. seq.;

   h. District of Columbia Consumer Protection Procedures Act, D.C. Code §§ 28-3901, et. seq.;

   i. Florida Deceptive and Unfair Trade Practices, Act Florida Statutes§ 501.201, et. seq.;

   j. Georgia Fair Business Practices Act, §10-1-390 et. seq.;

   k. Hawaii Unfair and Deceptive Practices Act, Hawaii Revised Statutes § 480 1, et. seq. and

       Hawaii Uniform Deceptive Trade Practices Act, Hawaii Revised Statute § 481A-1, et. seq.;

   l. Idaho Consumer Protection Act, Idaho Code § 48-601, et. seq.;

   m. Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS § 505/1, et. seq.;

   n. Kansas Consumer Protection Act, Kan. Stat. Ann §§ 50 626, et. seq.;

   o. Kentucky Consumer Protection Act, Ky. Rev. Stat. Ann. §§ 367.110, et. seq., and the

       Kentucky Unfair Trade Practices Act, Ky. Rev. Stat. Ann § 365.020, et. seq.;

   p. Louisiana Unfair Trade Practices and Consumer Protection Law, La. Rev. Stat. Ann. §§

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      51:1401, et. seq.;

   q. Maine Unfair Trade Practices Act, 5 Me. Rev. Stat. § 205A, et. seq., and Maine Uniform

      Deceptive Trade Practices Act, Me. Rev. Stat. Ann. 10, § 1211, et. seq.;

   r. Massachusetts Unfair and Deceptive Practices Act, Mass. Gen Laws ch. 93A;

   s. Michigan Consumer Protection Act, §§ 445.901, et. seq.;

   t. Minnesota Prevention of Consumer Fraud Act, Minn. Stat §§ 325F.68, et. seq.; and

      Minnesota Uniform Deceptive Trade Practices Act, Minn Stat. § 325D.43, et. seq.;

   u. Mississippi Consumer Protection Act, Miss. Code An. §§ 75-24-1, et. seq.;

   v. Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et. seq.;

   w. Montana Unfair Trade Practices and Consumer Protection Act, Mont. Code § 30-14-101,

      et. seq.;

   x. Nebraska Consumer Protection Act, neb. Rev. Stat. § 59 1601 et. seq., and the Nebraska

      Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. § 87-301, et. seq.;

   y. Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. §§ 598.0903, et. seq.;

   z. New Hampshire Consumer Protection Act, N.H. Rev. Stat. § 358-A:1, et. seq.;

   aa. New Jersey Consumer Fraud Act, N.J. Stat. Ann. §§ 56:8 1, et. seq.;

   bb. New Mexico Unfair Practices Act, N.M. Sta. Ann. §§ 57 12 1, et. seq.;

   cc. North Dakota Consumer Fraud Act, N.D. Cent. Code §§ 51 15 01, et. seq.;

   dd. Ohio Rev. Code Ann. §§ 1345.02 and 1345.03; Ohio Admin. Code §§ 109;

   ee. Oklahoma Consumer Protection Act, Okla. Stat. 15 § 751, et. seq.;

   ff. Oregon Unfair Trade Practices Act, Ore. Rev. Stat. § 646.608(e) & (g);

   gg. Rhode Island Unfair Trade Practices and Consumer Protection Act, R.I. Gen. Laws § 6-

      13.1-1 et. seq.;

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   hh. South Carolina Unfair Trade Practices Act, S.C. Code Law § 39-5-10, et. seq.;

   ii. South Dakota’s Deceptive Trade Practices and Consumer Protection Law, S.D. Codified

       Laws §§ 37 24 1, et. seq.;

   jj. Tennessee Consumer Protection Act, Tenn. Code Ann. § 47-18-101 et. seq.;

   kk. Vermont Consumer Fraud Act, Vt. Stat. Ann. Tit. 9, § 2451, et. seq.;

   ll. Washington Consumer Fraud Act, Wash. Rev. Code § 19.86/0101, et. seq.;

   mm. West Virginia Consumer Credit and Protection Act, West Virginia Code § 46A-6-101,

       et. seq.;

   nn. Wisconsin Deceptive Trade Practices Act, Wis. Stat. §§ 100.18, et. seq.


       57.    Defendant’s representations and omissions are false, unfair, deceptive and

misleading and are not unique to the parties and have a broader impact on the public.

       58.    Defendant’s acts, practices, advertising, labeling, packaging, representations and

omissions are not unique to the parties and have a broader impact on the public.

       59.    Plaintiff desired to purchase products which were as described by defendant and

expected by reasonable consumers, given the product type.

       60.    The representations and omissions were relied on by plaintiff and class members,

who paid more than they would have, causing damages.

                                       Negligent Misrepresentation

       61.    Plaintiff incorporates by references all preceding paragraphs.

       62.    Defendant misrepresented the composition of the Products.

       63.    Defendant had a duty to disclose and/or provide non-deceptive labeling of the

Products and knew or should have known same were false or misleading.

       64.    This duty is based on defendant’s purported position as a learned intermediary and
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an entity which has held itself out as having special knowledge in the production and sale of

beverages.

       65.    Defendant negligently misrepresented and/or negligently omitted material facts.

       66.    Plaintiff reasonably and justifiably relied on these negligent misrepresentations and

omissions, which served to induce and did induce, the purchase of the Products.

       67.    Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, thereby suffering damages.

              Breach of Express Warranty and Implied Warranty of Merchantability


       68.    Plaintiff incorporates by references all preceding paragraphs.

       69.    Defendant manufactures, packages, distributes and sells Products which purport to

be described as capable of supplying steady energy whereby the caffeine absorption would be

tempered by constituents of green tea, among other things.

       70.    This warrants to consumers that caffeine in the Products does not result in a “crash”

which is a typical result of a caffeine-enhanced beverage.

       71.    The Products warranted to plaintiff and class members that they possessed

functional, organoleptic, sensory, physical and other attributes which they did not.

       72.    Defendant warranted such attributes to plaintiff and class members, when this was

not truthful and was misleading.

       73.    The Products did not conform to their affirmations of fact and promises, wholly due

to defendant’s actions.

       74.    The Products were not merchantable in their final sale form.

       75.    Plaintiff and class members relied on defendant’s claims, paying more than they

would have.
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                                                Fraud


       76.     Plaintiff incorporates by references all preceding paragraphs.

       77.     Defendant’s purpose was to mislead consumers who seek products which have

qualities aforedescribed in furtherance of health and consumption of natural sources of ingredients,

like the caffeine from green tea.

       78.     Defendant’s intent was to secure economic advantage in the marketplace against

competitors.

       79.     Plaintiff and class members observed and relied on defendant’s claims, causing them

to pay more than they would have, entitling them to damages.

                                           Unjust Enrichment

       80.     Plaintiff incorporates by references all preceding paragraphs.

       81.     Defendant obtained benefits and monies because the Products were not as

represented and expected, to the detriment and impoverishment of plaintiff and class members,

who seek restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff(s) as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct such

       practices to comply with the law;

   3. Awarding monetary damages and interest, including treble and punitive damages, pursuant

       to the common law, GBL and other statutory claims;

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   4. Awarding costs and expenses, including reasonable fees for plaintiffs’ attorneys and

      experts; and

   5. Such other and further relief as the Court deems just and proper.

Dated: February 28, 2019
                                                              Respectfully submitted,

                                                              Sheehan & Associates, P.C.
                                                              /s/Spencer Sheehan
                                                              Spencer Sheehan (SS-8533)
                                                              505 Northern Blvd., Suite 311
                                                              Great Neck, NY 11021
                                                              (516) 303-0552
                                                              spencer@spencersheehan.com


                                                              Joshua Levin-Epstein
                                                              1 Penn Plaza, Suite 2527
                                                              New York, NY 10119




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1:19-cv-01209
United States District Court
Eastern District of New York

Renzil Simon individually and on behalf of all others similarly situated


                                         Plaintiff


        - against -


Campbell Soup Company

                                         Defendant




                                       Complaint


                                    Sheehan & Associates, P.C.
                                    505 Northern Blvd., #311
                                      Great Neck, NY 11021
                                       Tel: (516) 303-0052
                                       Fax: (516) 234-7800



Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: February 28, 2019
                                                                           /s/ Spencer Sheehan
                                                                            Spencer Sheehan
